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                 IN THE UNITED STATES DISTRICT COURT FOR
               THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                    *
UNITED STATES OF AMERICA
                                    *
           v.                               CRIMINAL NO.: WDQ-08-0086
                                    *
STEVE WILLOCK, et al.
                                    *

*    *     *      *     *      *    *       *     *     *         *      *    *      *

                              MEMORANDUM OPINION

     On April 15, 2010, a jury convicted Anthony Fleming of

conspiracy to participate in a racketeering enterprise whose

objectives were robbery and the distribution of cocaine base

(“crack”) and powder cocaine.        Fleming was also convicted of

conspiracy to distribute and possess with intent to distribute

crack and distribution of and possession with intent to

distribute crack.     The jury found that both drug offenses

involved at least 50 grams of crack.            On April 24, 2010, Fleming

moved for a new trial.        A hearing was held on July 9, 2010.                   For

the following reasons, his motion was denied.

I.   Background

     During the seven-day trial, the Government presented

testimony about Fleming’s activities as a member of the Tree Top

Piru (“TTP”) set of the Bloods gang.            The evidence showed that

TTP had a well-defined structure and mission.               Each member of

the gang held a “rank” and was required to “put in work”--i.e.,


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collect dues, sell drugs, commit robberies, and intimidate and

even murder rivals--to advance the gang’s goals.              As TTP leader

Steve Willock testified, these goals were the acquisition and

preservation of territory and the generation of revenue for the

gang through drug trafficking.

     Willock explained that although it is against the Bloods’

code to use “hard drugs,” such as heroin and cocaine, Bloods

members are permitted to sell drugs because it is profitable for

the gang.   Willock stated that, “we sell drugs. The gang sells

drugs.   Gang members [are] not . . . barred from selling drugs.”

He also testified that TTP wanted to acquire territory to

increase drug sales.    He explained that “the more territories

[TTP] get[s], the more areas we got for drug dealing.”              Terrance

Brady, another high-ranking TTP member, testified that drug

revenues were sometimes used to assist jailed TTP members with

bail or to enable them to buy prison commissary items.

     Brady and Troy Smith, another TTP member, testified that

Fleming was a “five-star general” in TTP.        Smith sponsored

Fleming’s initiation into the gang and was accompanied by

Fleming when he went to visit Willock in a Hagerstown prison to

learn the history of TTP.1

     The Government also presented the testimony of Detective


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  Fleming was unable to meet with Willock because he was not on
his visitors list.
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Zachary Wein of the Baltimore Police Department (“BPD”).             Wein

testified that on April 24, 2007, while patrolling for illegal

drug activity, he received information about suspicious activity

in the 2800 Block of Greenmount Avenue in Baltimore.            There, he

encountered Fleming, and observed what he believed to be illegal

drugs in a cell phone case on Fleming’s hip.         Wein arrested

Fleming and searched the case.      It contained two bags of what

appeared to be crack.

     Marta Iwashko, a chemist in the Drug Unit of the BPD,

testified that her October 28, 2009 analysis revealed that the

substance was about 62 grams of crack.       Iwashko testified that

BPD chemist Aisha Larkin had analyzed the crack on April 29,

2007,2 but because Larkin was on extended leave from the BPD--and

unavailable for trial--the Government asked that Iwashko

reanalyze the drugs.    Iwashko testified that she conducted a

“totally separate and independent test” and that her conclusions

did not rely on Larkin’s notes or findings.

     Over defense counsel’s objection, the Court admitted a Drug

Analysis Report that stated the findings of Iwashko and Larkin.

The results of Iwashko’s analysis were listed below the results

of Larkin’s.   The Report bore the signatures of both chemists.


2
  Larkin also concluded that the substance was crack, but she
estimated its weight to be about 74 grams. Iwashko testified
that the difference in weight was attributable to the drugs’
drying out during the two and a half years between analyses.
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Both sets of results indicated that the substance in Fleming’s

cell phone case was more than 50 grams of crack.

      On April 15, 2010, the jury convicted Fleming.               On April

24, 2010, he moved for a new trial.            Paper No. 974.

II.   Analysis

      Fleming argues that: (1) the admission of the Drug Analysis

Report violated his Confrontation Clause rights because he was

unable to cross-examine Larkin, and (2) the Court erred in

denying his motion to sever the drug distribution count from the

RICO and drug conspiracy counts.

      A.    New Trial Standard

      Under Rule 33, a district court may grant a new trial “if

the interest of justice so requires.”            See Fed. R. Crim. P. 33;

United States v. Arrington, 757 F.2d 1484, 1485 (4th Cir. 1985).

There are two types of Rule 33 motions: motions based on (1)

newly discovered evidence and (2) “other grounds.”                See Fed. R.

Crim. P. 33(b).      If the motion is based on “other grounds,” the

defendant must show an “error of sufficient magnitude to require

reversal on appeal.”      United States v. Wall, 389 F.3d 457, 474

(5th Cir. 2004) (quoting Charles A. Wright et al., Federal

Practice & Procedure § 556 (3d ed. 2004)).

      A “harmless” error is not a basis for a new trial.                See

Fed. R. Crim. P. 52(a) (“Any error, defect, irregularity, or

variance that does not affect substantial rights must be

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disregarded.”).    An error is harmless if “[it is] clear beyond a

reasonable doubt that a rational jury would have found the

defendant guilty absent the error.”          Neder v. United States, 527

U.S. 1, 18 (1999).

     B. Confrontation Clause Challenge to the Drug Analysis
        Report

     The Confrontation Clause gives the accused the “right to be

confronted with the witnesses against him.”           Crawford v.

Washington, 541 U.S. 36 (2004), held that the Clause bars the

“admission of testimonial statements of a witness who d[oes] not

appear at trial unless [1] he [is] unavailable to testify, and

[2] the defendant . . . had a prior opportunity for cross-

examination.”   541 U.S at 53-54.       In Melendez-Diaz v.

Massachusetts, 129 S. Ct. 2527 (2009), the Supreme Court held

that “certificates of analysis” by laboratory analysts

confirming that a substance possessed by the defendant was

cocaine were testimonial statements under Crawford.              129 S. Ct.

at 2532.   Thus, “absent a showing that the analysts were

unavailable to testify at trial and that petitioner had a prior

opportunity to cross-examine them, petitioner was entitled to

‘be confronted with’ the analysts at trial.”           Id. (emphasis in

original).

     Fleming argues that the Drug Analysis Report included

testimonial statements by Larkin because it included the results


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of Larkin’s analysis and her signature; thus, he contends,

Melendez-Diaz required the exclusion of the Larkin portion of

the Report because Fleming was not given an opportunity to

cross-examine Larkin.          Essentially, Fleming argues that the Drug

Analysis Report should have been redacted to exclude Larkin’s

findings3; he does not challenge the admissibility of Iwashko’s

findings.

       Assuming that admitting the unredacted Report was error,

Fleming’s motion fails because the error was harmless.4

Iwashko’s testimony and her portion of the Report--the

admissibility of which Fleming does not challenge--provided the

jury with evidence that Fleming possessed over 50 grams of crack

on April 24, 2007.      Fleming argues that the Larkin portion of

the Report “corroborated” Iwashko’s testimony and Report, and

thus was essential to the jury’s verdict.            But Iwashko’s

testimony needed no corroboration: after detailing her extensive

qualifications as forensic chemist, and explaining that Larkin

had first analyzed the substances, Iwashko testified that she

performed “a totally separate and independent test” and

concluded that the substance in Fleming’s cell phone case was 62

grams of crack.      Even if the Court had excluded the Larkin

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    See Mot. for New Trial 4.
4
  Confrontation Clause violations are subject to harmless error
review. United States v. Banks, 482 F.3d 733, 741-42 (4th Cir.
2007).
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portion of the Report--i.e., “absent the error”--the jury would

still have concluded that the substance was more than 50 grams

of crack based on Iwashko’s testimony and her portion of the

Report.    The admission of the unredacted Report was, at most, a

harmless error.

        C. Challenge to the Court’s Denial of Motion to Sever
           Counts

        On April 10, 2010, Fleming moved to sever Count Four--which

charged him with distribution of crack on April 24, 2007--from

Counts One and Two, which charged the RICO and controlled

substances distribution conspiracies, respectively.            He argued

that the Government’s evidence had not established a relation-

ship between the April 24 incident and the conspiracies and,

thus, that the charges were improperly joined.          Fleming asserts

that the Court’s denial of his motion was an error entitling him

to a new trial.

        Under Rule 8, “the indictment . . . may charge a defendant

in separate counts with 2 or more offenses if the offenses

charged . . . are of the same or similar character, or are based

on the same act or transaction, or are connected with or

constitute parts of a common scheme or plan.”          Fed. R. Crim. P.

8(a).    The Fourth Circuit “ha[s] interpreted the latter two

prongs of [Rule 8(a)] flexibly, requiring only a ‘logical

relationship’ to one another.”      United States v. Cardwell, 433


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F.3d 378, 385 (4th Cir. 2005).5

        The three counts in which Fleming was charged were

logically related.    As the Indictment alleged--and the testimony

at trial made clear--one of the principal objectives of the

alleged RICO conspiracy was the generation of revenue through

drug trafficking.    Willock testified that although TTP members

were forbidden to use “hard drugs,” their sale was permitted

because it was “profitable for the gang.”        Willock also

testified that drug dealing was one of the ways a TTP member

could “put in work” and/or pay dues to the gang, and that TTP’s

efforts to acquire territory were meant to increase the gang’s

drug sales.    Brady testified that drug revenues were sometimes

used to assist incarcerated TTP members with bail or to enable

them to purchase items in prison commissaries.          Selling drugs

was thus one of the principal activities of TTP.

        The RICO count was thus properly joined with the narcotics

trafficking counts because it has a logical relationship to

them.    The evidence at trial showed that TTP facilitated the

drug dealing of its members and, in turn, relied on the revenues

from that dealing.    Thus, the RICO and drug conspiracies were




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  Cardwell also noted that “Rule 8(a) permits very broad joinder
because of the efficiency in trying the defendant on related
counts in the same trial.” 433 F.3d at 385.

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interdependent: TTP was a drug-trafficking street gang.6                Count

Four bore a logical relationship to the other counts given that

Fleming was charged--and the evidence showed--that he was

engaging in one of the principal activities of TTP and the

principal activity of any drug conspiracy.            Fleming’s

participation in a drug-related crime on April 24, 2007

certainly bears a logical relationship to counts charging that

he was a member of a drug-trafficking street gang and a drug

conspiracy.      The Court did not err in denying severance.

III.    Conclusion

       For the reasons stated above, Fleming’s motion for a new

trial was denied.




July 9, 2010                               ___________/s/______________
Date                                       William D. Quarles, Jr.
                                           United States District Judge




6
  Unsurprisingly, nearly all the defendants charged in the RICO
conspiracy were also charged in the drug conspiracy.
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